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     CHARLES LA BELLA
 1   KATHLEEN McGOVERN
     Deputy Chiefs
 2   THOMAS B. W. HALL
     Trial Attorney
 3   Fraud Section, Criminal Division
     U.S. Department of Justice
 4   1400 New York Avenue, NW
     Washington, DC 20530
 5   (202) 616-1682
 6
                         UNITED STATES DISTRICT COURT
 7                            DISTRICT OF NEVADA
 8                                   -oOo-
 9   UNITED STATES OF AMERICA,                    )
                                                  )
10                                                )
                    Plaintiff,                    )
11                                                )
12                  v.                            )       CASE NO. 2:12-CR-113-JCM-VCF
                                                  )
13                                                )
     ARNOLD MYERS                                 )       UNOPPOSED MOTION TO
14                                                )       CONTINUE SENTENCING
                    Defendant.                    )
15                                                )
                                                  )
16

17
            COMES NOW, the United States of America, by and through JEFFREY H. KNOX,
18
     Chief, U.S. Department of Justice, Criminal Division, Fraud Section, and THOMAS B.W.
19
     HALL, Trial Attorney, U.S. Department of Justice, Criminal Division, Fraud Section, and moves
20
     to continue the sentencing hearing presently set for May 21, 2014, at the hour of 10:00 am.
21
            The parties respectfully request this Honorable Court to continue the Sentencing Hearing
22
     until at least January 5, 2015 to allow time for the defendant to complete his cooperation in the
23
     main HOA case set to go to trial on October 6, 2014.
24
            This is the third request for a continuance of this Sentencing date.
25
            Pursuant to General Order No. 2007-04, this Stipulation is entered into for the following
26
     reasons:




                                                      1
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 1              1. The defendant has entered a plea agreement with the United States that requires the
 2   defendant to cooperate with the United States in connection with its ongoing investigation of a
 3   fraudulent scheme involving Las Vegas Home Owners Associations. The defendant has begun to
 4   cooperate with the United States in this investigation, which involves a number of potential co-
 5   conspirators and targets.
 6              2. The defendant’s Plea Agreement affords the defendant potential consideration for
 7   downward departures at the time of sentencing if the defendant has provided substantial
 8   assistance to the United States, including the possibility of a United States Sentencing Guideline
 9   (U.S.S.G.) § 5K1.1 Motion.
10              3. The United States anticipates future pleas, indictments and the possibility of one or
11   more trials of co-conspirators and targets. These events may allow the defendant the opportunity
12   to provide further cooperation as a witness, including the possibility of testifying at trial.
13   Specifically, trial is set for October 6, 2014 for nine co-defendants in United States v. Benzer et
14
     al., Case No. 2:13-cr-00018-JCM-GWF (Doc. No. 96.).
15
                4. Counsel for the United States has spoken with counsel for the defendant and counsel
16
     has agreed that the requested continuance is in the best interest of justice, and counsel does not
17
     oppose the continuance sought herein. The defendant is not in custody.
18
                5. Denial of this request for continuance would deny the parties sufficient time and
19
     opportunity to develop the defendant’s cooperation against the related co-conspirators and
20
     targets and prepare related cases for prosecution.
21
                6. Furthermore, denial of this request for continuance could result in a miscarriage of
22
     justice.
23
                7. The United States also requests an order to exclude the additional time requested by
24
     this continuance in computing the time within which the trial herein must commence pursuant to
25
     the Speedy Trial Act, Title 18, United States Code, Section 3161(h)(7)(A), when considering the
26
     factors under Title 18, United States Code, Section 3161(h)(7)(B)(I) and 3161(h)(7)(B)(iv).



                                                         2
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 1

 2     DATED this 27th day of March 2014.
 3                                              Respectfully submitted,
 4
                                                JEFFREY H. KNOX
 5                                              Chief, U.S. Department of Justice
                                                Fraud Section, Criminal Division
 6
                                                /s/ Thomas B.W. Hall
 7                                              THOMAS B.W. HALL
                                                Trial Attorney, U.S. Dept. of Justice
 8
                                                Criminal Division, Fraud Section
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 1                      UNITED STATES DISTRICT COURT
 2
                             DISTRICT OF NEVADA
                                    -oOo-
 3
     UNITED STATES OF AMERICA,                     )
 4                                                 )
                                                   )
 5                 Plaintiff,                      )
                                                   )
 6
                   v.                              )       CASE NO. 2:12-CR-113-JCM-VCF
 7                                                 )
                                                   )
 8   ARNOLD MYERS                                  )       PROPOSED ORDER
                                                   )
 9                 Defendant.                      )
                                                   )
10                                                 )

11

12                                        FINDINGS OF FACT

13          Based on the Government’s pending Unopposed Motion to Continue Sentencing, and

14   good cause appearing therefore, the Court hereby finds that:

15          1. The parties are in agreement to continue the Sentencing date as presently scheduled.

16          2. This Court is convinced that an adequate showing has been made that to deny this

17              request for continuance, taking into account the exercise of due diligence, would deny

18              the United States sufficient time to be able to effectively prepare for the co-

19              conspirator and target trials and would bar the defendant from the opportunity to

20              cooperate and potentially receive downward departures at the time of sentencing. This

21              decision is based on the following findings:

22                 a. The defendant agreed in his plea agreements to cooperate against his

23                      coconspirators in any related indictments and trials.

24                 b. The United States agreed to consider downward sentencing concessions for

25                      the defendant’s cooperation, including possible U.S.S.G. 5K1.1 Motions if
26                      substantial assistance resulted from such cooperation.




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 1                  c. The United States anticipates several additional pleas, indictments and trials in
 2                      related cases. Specifically, the defendant may be called to testify in United
 3                      States v. Benzer et al., Case No. 2:13-cr-00018-JCM-GWF, set for trial
 4                      October 6, 2014.
 5                  d. The parties need additional time to prepare the defendant’s cooperation
 6                      against other co-conspirators and targets.
 7                  e. The defendant does not object to the continuance.
 8                  f. The defendant is out of custody.
 9          3. For all the above-stated reasons, the ends of justice would best be served by
10              continuing the Sentencing date.
11          4. The additional time requested by this Stipulation is excludable in computing the time
12              within which the trial herein must commence pursuant to the Speedy Trial Act, 18
13              U.S.C. Section 3161(h)(8)(A), considering the factors under 18 U.S.C. Sections
14
                3161(h)(8)(B)(I) and (v).
15

16
                                                  ORDER
17
            IT IS THEREFORE ORDERED that the Sentencing date currently set for May 21,
18
     2014, is vacated and is continued. This delay is excluded from the time within which the trial
19
     must commence pursuant to the Speedy Trial Act, Title 18, United States Code, Section
20
     3161(h)(7)(A). It is further ordered that the defendant’s sentencing hearing is set for January
21     IT IS2015,
             FURTHER       ORDERED     that calendar  call to determine order of sentencing is
     ____,        at the hour of __________  a.m., in Courtroom  # __________.
22    scheduled for January 20, 2015, at 9:00 a.m. in courtroom 6A.

23
                          March
                    DATED this    28,day
                               _____  2014.
                                         of _____________, 2014.
24

25                          _________________________________
                            UNITED STATES DISTRICT JUDGE
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 2                        UNITED STATES DISTRICT COURT
 3                             DISTRICT OF NEVADA
 4                                    -oOo-
 5   UNITED STATES OF AMERICA,                      )
                                                    )
 6                                                  )
                     Plaintiff,                     )
 7                                                  )
                     v.                             )        CASE NO. 2:12-CR-113-JCM-VCF
 8                                                  )
                                                    )
 9   ARNOLD MYERS                                   )        CERTIFICATE OF SERVICE
                                                    )
10                   Defendant.                     )
                                                    )
11                                                  )

12

13           I, the undersigned, hereby certify that this pleading was filed with the clerk of court via

14   ECF and will be served electronically via ECF on all parties that have entered their appearances

15   in this case.

16

17           Dated: March 27th, 2014

18
                                                    JEFFREY H. KNOX
19                                                  Chief, U.S. Department of Justice
                                                    Fraud Section, Criminal Division
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21                                                  /s/ Thomas B.W. Hall
                                                    THOMAS B.W. HALL
22                                                  Trial Attorney, U.S. Dept. of Justice
                                                    Criminal Division, Fraud Section
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